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                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA
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 MIKO PELED, et al.,

                                  Plaintiff,                             Docket No:
                                                                         1:17-CV-260 (RBW)
                           -against-
 BENJAMIN NETANYAHU, et al.,
                                  Defendants.

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                                DECLARATION OF OLEG RIVKIN

       OLEG RIVKIN, pursuant to 28 U.S.C. § 1746, declares and states as follows:

       1.       I am an attorney admitted to practice before this Court and a principal at the law

firm Rivkin Law Group pllc, co-counsel for Defendant Billet Feit & Preis, P.C. (“BFP”).

       2.       I submit this declaration on behalf of BFP and in support of BFP’s Motion to

Dismiss the Amended Complaint and in order to place before the Court documents that are cited

therein.

       3.       Attached hereto as Exhibit A is a true and correct copy of an article, dated August

12, 2017, published on the Al Jazeera website, titled “How a Case Against Israel Officials Helped

Saudi Arabia.” http://www.aljazeera.com/news/2017/08/case-israel-officials-helped-saudi-arabia-

170811091713476.html.

       4.       Attached hereto as Exhibit B is a true and correct copy of a brochure published by

the Internal Revenue Service, entitled “Applying for 501(c)(3) Tax-Exempt Status.”

       5.       Attached hereto as Exhibit C is a true copy of the 2016 Instructions for Form 990

Return of Organizations Exempt From Income Tax, published by the Internal Revenue Service.

Because the document is voluminous, I attach only the first 8 pages of the document covering

General Instructions, which include, on page 5, instructions for mailing Form 900 to the IRS.
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       6.      A search of public records demonstrates that BFP is neither incorporated nor

registered to do business in Washington D.C. Attached hereto as Exhibit D is a printout that I made

from the website of the New York Department of State of the record of incorporation of BFP. The

document shows that BFP was incorporated in New York as a domestic professional corporation

in 1976, DOS No. 389282, and that it remains active.


Dated: New York, New York
       April 18, 2019


                                             Oleg Rivkin




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